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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                               *
                                                       *       Criminal No. 16-cr-00153-KD
v.                                                     *
                                                       *
DAVID JESUS JIMENEZ                                    *
                                                       *
                                                       *

        UNITED STATES’ POSITION REGARDING PRE-SENTENCE REPORT

       Comes now the United States of America, by and through Richard W. Moore, the United

States Attorney for the Southern District of Alabama, and files this notice of position regarding

the pre-sentence report for defendant David Jimenez. [Doc. No 239]

       The United States has reviewed the PSR drafted by the probation office, and has no

objections to the report or the calculation of the guidelines within. 1


       Respectfully submitted this 12th day of January, 2018.


                                               RICHARD W. MOORE
                                               UNITED STATES ATTORNEY

                                               By: /s/Christopher J. Bodnar
                                               Christopher J. Bodnar
                                               Assistant United States Attorney
                                               63 South Royal Street, Suite 600
                                               Mobile, Alabama 36602
                                               (251) 441–5845

                                               By: /s/Donna B. Dobbins
                                               Donna B. Dobbins
                                               Assistant United States Attorney
                                               63 South Royal Street, Suite 600
                                               Mobile, Alabama 36602
                                               (251) 441–5845


1       The United States spoke with counsel for Jimenez this afternoon, and has received a copy of
Jimenez’s objections to the PSR. [Doc. No. 241] The United State is preparing a separate response to
those objections.


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